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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

AMERICAN HOME MORTGAGE Case No. 07-11047 (CSS)

HOLDINGS, INC., et al., (Jointly Administered)
Debtors. Re: Docket No.: ___

ORDER GRANTING MOTION OF GMAC MORTGAGE LLC PURSUANT
TO DEL.BANKR.LR. 9006-1(e¢) FOR AN ORDER SHORTENING THE TIME
FOR NOTICE OF THE HEARING AND OBJECTION DEADLINE TO
CONSIDER GMAC MORTGAGE LLC’S MOTION TO COMPEL THE
DEBTORS TO SEND NOTICE TO THE HELOC BORROWERS
REGARDING THE “FREEZING” OF THE HELOC LOANS

Upon consideration of the Motion of GMAC Mortgage LLC Pursuant to Del.Bankr.LR.
9006-1(e) for an Order Shortening the Time for Notice of the Hearing and Objection Deadline to
Consider GMAC Mortgage LLC’s Motion to Compel the Debtors to Send Notice to the HELOC
Borrowers Regarding the “Freezing” of the HELOC Loans (the “Motion”), and it appearing that
this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and it appearing that
this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that
venue of this proceeding and the Motion are proper in this District pursuant to 28 U.S.C. §§ 1408

and 1409; and sufficient cause appearing therefor, it is hereby ORDERED that:

1, The Motion is granted in its entirety.
2. A hearing to consider the Motion to Compel3 shall be held on January 3, 2008 at
11:00 a.m. before the Honorable Christopher S. Sontchi.

3 To the extent not otherwise defined herein, capitalized terms shall have the meaning
ascribed to them in the Motion.

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7. There are several procedures that need to be completed in order to transition servicing
from the Debtors to GMACM, including the uploading of all of the electronic data regarding the
HELOCs, which procedures require time to be accomplished. In addition, notices will have to be
immediately sent to the HELOC borrowers regarding the change in servicer. It is imperative that
the notice requested by GMACM be sent prior to the transfer of servicing.

8. Based upon the foregoing and for the reasons set forth in the Motion to Compel,
cause exists to shorten notice and schedule a hearing on the Motion to Compel for January 4,
2008 at 11:00 a.m. (Eastern) and establish December 28, 2007 at 4:00 p.m. as the deadline for
filing objections to the Motion to Compel.

WHEREFORE, GMACM respectfully requests that the Court enter an order scheduling a
hearing on the relief requested in the Motion to Compel for January 4, 2008 at 11:00 a.m.
(Eastern Prevailing Time) and requiring that any responses to the Motion to Compel be filed and
served so as to be received on or before December 28, 2007 at 4:00 p.m. (Eastern Prevailing
Time).

Dated: December 20, 2007 Respectfully submitted,

Wilmington, Delaware
REED SMITH LLP
By: /s/ Kimberly E. C. Lawson

Kimberly E. C. Lawson (No. 3966)
1201 Market Street, Suite 1500
Wilmington, DE 19801
Telephone: (302) 778-7500

Facsimile: (302) 778-7575
E-mail: klawson@reedsmith.com

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3. Written objections to the Motion to Compel shall be filed and served in
accordance with the notice attached to the Motion to Compel no later than 4:00 p.m. on

December 28, 2007.

Date: , 2007
Wilmington, Delaware Christopher S. Sontchi
United States Bankruptcy Judge

